
Smith, J.
The defendants in error in these three cases move the court to strike the petitions in error from the files on th© ground that the plaintiff in error was not prejudiced by the judgments sought to be reversed, and that no substantial right of his has been affected by the judgment. We think that probably this is the case. But there is another ground on which we think if clear that the cases will have to - b© stricken from the docket — there were other parties, defendants in the original cases, other than the present defendants in error, who are substantial parties to the controversy, and whose rights were affected by the judgment and decree rendered therein, and who were necesssary parties to any proceeding to reverse it, and who have not been made parties to this proceeding in error. It is too late to do so now* the judgment having been rendered December 7, 1898.
The cases will be stricken from the docket for want of jurisdiction 4of the court to hear them.
